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          Bv ECF                                                                      March 8,2022
          Honorable Gabriel W. Gorenstein
          United States Magistrate Judge
          United States District Court
          Southern District of New York
          500 Pearl Street
          New York, New York 10007

                     In Re: New York City Policing During Summer 2020 Demonstrations,
                            No. 20 Civ.8924 (CM) (GwG)
                            This filing is related to all cases

          Your Honor


                     I am a Senior Counsel in the Office of Hon. Sylvia Hinds-Radix, Corporation Counsel of
          the City of New York and I am among counsel for the defense in the above-referenced matter. We
          write in response to plaintiffs' letter, dated March 4,2022 (Dkt# 431).
                 As an initial matter, the Payne plaintiffs' contention that defendants "did not produce
          responses to Payne plaintiffs' Second and Third Interrogatories and Document Requests and did
          not produce any of the videos or other documents sought" is inaccurate and misleading.

                  Defendants did in fact respond to the Payne plaintiffs' Second Document Requests.
          Notably, pursuant to the Court's order to chart all document requests, defendants Payne's
          responses to Document Request No. 2 appear on the Chart produced last week, at line 201. We
          have since learned that the documents that defendants had hoped to produce in response to the
          document request cannot be produced. The document request calls for 12 types of documents
          concerning the officers identified in Interrogatories 16 and 17. The officers cannot be identified,
          despite best efforts by this office and NYPD. Since those officers cannot be identified, documents
          concerning them cannot be produced.

                  Defendants also provided responses to the Payne plaintiffs' Third Set of Interrogatories
          and Document Requests. Responses were served on January 14,2022, and defendants'responses
          further appear on the Chart produced last week at lines 175-186. Additional documents continue
          to become available, and will be produced shortly, including, body-worn camera footage for the
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requested dates for certain officersl. Additional documents from the now-closed CCRB file,
#202005797, and documents concerning IAB number C2l-875 will be produced pursuant to the
deposition protocol. In addition to what is mentioned in this letter, this evening, the defendants
also provided Plaintiff with a detailed email concerning these interrogatories and requests. As
such, def'endants did not fail to comply with the Court's order and the request for sanctions are
unwarranted.

        With respect to documents relating to Edward Mullins' alleged "circulation of a racist
video" or concerning an investigation, discipline or recommendation of discipline into same,
NYPD found nothing in Sgt. Mullins' disciplinary history regarding this video. It is also not noted
on his CCRB history. Defendants' response regarding the documents related to Sgt. Mullins
appears in the Chart produced last week, at line 94. Defendants inadvertently noted on the Chart
that documents would be provided "prior to the Court-Ordered date," meaning either March l lth
or 18th, the dates that documents in response to plaintiffs' documents requests are due. When this
error was brought to our attention, we immediately collected, reviewed and produced Sgt. Mullins'
CCRB and IAB histories as evidence of no investigation. We also produced documents concerning
the complaints against Mullins for offensive language and abuse of authority, the Charges &
Specifications and NYPD logs related to three substantiated CCRB complaints as well as the files
for those three substantiated complaints. Defendants apologize for not producing these documents
on March 3'd, and respectfully submit that plaintiffs have suffered no prejudice as a result of this
short delay in production, and thus the granting of sanctions is not warranted as to this issue.

         Based upon the foregoing, defendants respectfully request that the Court deny Plaintiffs'
application. Thank you for your consideration herein.


                                                     Respectfully subm itted,

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                                                     Dara Weiss
                                                     Senior Counsel
                                                     Special Federal Litigation Division




                                                      P      Miller
                                                     Division Chief
                                                      Special Federal Litigation

cc     ALL COUNSEL (via ECF only)
